Case 1:17-cv-00291-MAC-KFG Document 10 Filed 05/07/18 Page 1 of 4 PageID #: 35




              IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF TEXAS
                        BEAUMONT DIVISION
 ____________________________________

 BARTHOLOMEW GRANGER,                         §
                                              §
                            Petitioner        §     No. 1:17-cv-00291-RC
                                              §
                v.                            §     THIS IS A CAPITAL CASE
                                              §
 LORIE DAVIS, Director                        §
 Texas Department of Criminal Justice         §
 Correctional Institutions Division,          §
                                              §
                      Respondent              §
 ____________________________________


                    JOINT MOTION FOR LEAVE TO FILE
                   OVER-LENGTH PETITION AND ANSWER
          __________________________________________________


          Petitioner, Bartholomew Granger, and Respondent Lorie Davis, through

 undersigned counsel, respectfully move for leave to file pleadings in excess of the

 page limits for 28 U.S.C. § 2254 death penalty cases established by the Local

 Rules of the Eastern District of Texas, Rule CV-3(b). In support thereof, the

 parties state the following:

          In May 2013, Mr. Granger was convicted of capital murder and sentenced to

 death.     On May 17, 2017, the Texas Court of Criminal Appeals denied Mr.

 Granger’s application for writ of habeas corpus.
Case 1:17-cv-00291-MAC-KFG Document 10 Filed 05/07/18 Page 2 of 4 PageID #: 36




       Petitioner plans to file his Petition for Writ of Habeas Corpus pursuant to 28

 U.S.C. § 2254 on or before May 17, 2018. Respondent plans to file an Answer to

 the Petition sometime thereafter.

       Pursuant to Rule CV-3(b) of the local rules for the Eastern District of Texas,

 absent leave of court, 28 U.S.C. § 2254 petitions in death penalty cases shall not

 exceed one hundred pages. Under the same rule, Respondent’s Answer is limited

 to 100 pages.

       An enlargement of the page limit is necessary in order to fully inform the

 Court of the merits of Petitioner’s claims for relief.

       Petitioner’s Application for Writ of Habeas Corpus in state court was over

 100 pages long, not including attachments or supporting documents. Undersigned

 counsel for Petitioner has made great efforts to condense and winnow this

 pleading, and has omitted some of the claims raised in state court from the petition

 to be filed in this Court. However, in the course of investigating Petitioner’s case,

 undersigned counsel has developed both numerous additional facts and additional

 claims in support of Petitioner’s federal petition.

       Undersigned counsel has made every effort to succinctly present these facts

 and claims. However, this task is difficult in light of the fact-intensive nature of

 many of Petitioner’s claims. Thus, additional pages are necessary to plead these

 facts and explain their impact on Petitioner’s claims for relief.
Case 1:17-cv-00291-MAC-KFG Document 10 Filed 05/07/18 Page 3 of 4 PageID #: 37




       In turn, Respondent also requires an enlargement of the page limit.

 Respondent’s Answer is Respondent’s opportunity to respond to both the merits of

 Petitioner’s claims for relief and also raise any procedural defenses. Due to the

 complex, fact-intensive nature of such a pleading, additional pages are necessary.

 This enlargement is also necessary due to the anticipated over-length nature of

 Petitioner’s Petition.

       WHEREFORE, the parties respectfully request that this Court grant

 Petitioner permission to file an over-length Petition for Writ of Habeas Corpus

 pursuant to 28 U.S.C. § 2254 that will not exceed one hundred fifty (150) pages in

 length, and correspondingly grant Respondent leave to file an Answer that will not

 exceed one hundred fifty (150) pages in length.

 Respectfully submitted,


 /s/ Gwendolyn S. Vindell                    /s/ Peter Walker
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                                             PA State Bar #315693

                                             COUNSEL FOR PETITIONER
 Dated: May 7, 2018
Case 1:17-cv-00291-MAC-KFG Document 10 Filed 05/07/18 Page 4 of 4 PageID #: 38




                          CERTIFICATE OF SERVICE
       I, Peter Walker, hereby certify that on this 7th day of May 2018, I served the
 foregoing on the following person via the Electronic Case Filing System:


                          Gwendolyn S. Vindell
                          Assistant Attorney General
                          Office of the Attorney General
                          Criminal Appeals Division
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                          Austin, Texas 78711-2548




                                              /s/ Peter Walker
                                              Peter Walker

 Dated: May 7, 2018
